        Case 2:24-cv-07054-DSF-AJR                        Document 10        Filed 08/22/24       Page 1 of 1 Page ID
                                                                #:38
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Central District
                                                    __________  DistrictofofCalifornia
                                                                             __________

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                      AL OTRO LADO                                    )
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                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. FY-DSF-AGR
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          U.S. ,00,*5$7,21$1'&867206                               )
                   (1)25&(0(17                                        )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Attorney General of the United States
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue, NW
                                           Washington, DC 20530-0001




          A lawsuit has been filed against you.

         Within  days after service of this summons on you (not counting the day you received it), pursuant to 5
U.S.C. § 552(a)(4)(C) of the Freedom of Information Act,you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
the plaintiff or plaintiff’s attorney, whose name and address are:
                                           'LHJR$UDQGD7HL[HLUD
                                           $O2WUR/DGR
                                           66SULQJ6WUHHW6XLWH
                                           /RV$QJHOHV&$


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




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Date: 8/22/2024
                                                                                          Signature of C
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